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                          UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

ROSE L. GINDER,

                      Plaintiff,

v.                                                 Case No: 6:14-cv-1271-Orl-40DAB

BANK OF AMERICA CORP.,

                      Defendant.


                              ORDER TO SHOW CAUSE
      This case is before the Court upon periodic review. Plaintiff has failed to comply

with the Court's Orders (Docs. 4, 5) of August 8, 2014 directing counsel to review and

certify compliance with Local Rule 1.04(d) and to file a Certificate of Interested Persons

and Corporate Disclosure Statement. Therefore, it is

      ORDERED that the Plaintiff shall SHOW CAUSE and file her response to said

Orders within fourteen (14) days from the date of this Order. Failure to comply with this

Order may result in dismissal without prejudice or other appropriate sanctions pursuant to

Local Rule 3.10(a).

      DONE and ORDERED in Orlando, Florida, this 25th day of September 2014.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
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